     Case 4:18-cv-00793-DPM Document 188 Filed 04/28/22 Page 1 of 2




           IN THE UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                     CENTRAL DIVISION

STRATHCLYDE PENSION FUND,
Individually and on Behalf of All Others
Similarly Situated                                            PLAINTIFF

v.                       No. 4:18-cv-793-DPM

BANK OZK and GEORGE GLEASON                              DEFENDANTS

                                 ORDER
     Plaintiff's unopposed motion, Doc. 187, is granted. The Court
directs the Clerk to unseal the portions of Doc. 184 corresponding to
Doc. 179-2, 179-3, 179-4, 179-5, 179-7, 179-8, 179-9, 179-10, 179-12,
179-13, 179-14, 179-15, 179-16, 179-17, 179-19, 179-22, 179-23, 179-24,
179-26, 179-33, 179-34, 179-37, 179-58, 179-59, 179-64, 179-73, 179-74,
179-75, 179-76, 179-77, 179-78, 179-80, 179-81, 179-82, 179-84, 179-87,
179-90, 179-91, 179-92, 179-93, 179-96, 179-99, 179-100, 179-101,
179-103, 179-104, 179-105, 179-106, 179-107, 179-108, 179-110,
179-111, 179-114, 179-117, 179-118, 179-119, 179-122, 179-123,
179-124, 179-125, 179-126, 179-128, 179-129, 179-130, 179-132,
179-135, 179-136, 179-137, 179-138, 179-139, 179-142, 179-143,
179-144, 179-147, 179-148, 179-153, 179-154, 179-157, 179-159,
179-160, 179-161, 179-162, 179-163, 179-164, 179-166, 179-168,
179-170, 179-174, 179-175, 179-176, 179-179, 179-180, 179-183,
    Case 4:18-cv-00793-DPM Document 188 Filed 04/28/22 Page 2 of 2




179-184, 179-186, 179-191, 179-194, 179-205, 179-207, 179-209,
179-210, 179-211, 179-213, 179-214, 179-215, 179-216, 179-221,
179-222, 179-224, 179-225, 179-226, 179-227, 179-228, 179-229,
179-230, 179-231, 179-232, 179-235, 179-236, 179-237, 179-238,
179-239, 179-240, 179-242, 179-243 & 179-245. The Court directs the
Clerk to replace these placeholder exhibits with the unsealed exhibits
when they are filed.
     The Court directs Strathclyde to submit to the Clerk its proposed
substituted exhibits, Doc. 179-6, 179-25, 179-35, 179-39, 179-40, 179-47,
179-62, 179-79, 179-83, 179-86, 179-165, 179-199, 179-206, 179-208,
179-217, 179-218, 179-220, 179-234 & 179-246. The Court directs the
Clerk to replace these placeholder exhibits with the redacted
substituted exhibits when they are filed.
     So Ordered.


                                 D.P. Marshall Jr.
                                 United States District Judge




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